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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

    UNITED STATES OF AMERICA,                       )
                                                    )
             Plaintiff,                             )             No. 6:18-CV-279-REW
                                                    )
    v.                                              )
                                                    )                    ORDER
    ESTATE OF BETTY LOUISE PARKS,                   )
    DECEASED, et al.,                               )
                                                    )
             Defendants.
                                     *** *** *** ***

         On October 29, 2018, the United States initiated this foreclosure action against the

  following Defendants: the Estate of Betty Louise Parks, Deceased; Vicky May; Debbie

  Parks; Roger Parks; and the Unknown Heirs of Betty Louise Parks; as well as the Unknown

  Spouses of Betty Louise Parks, Vicky May, Debbie Parks, Roger Parks, and the Unknown

  Heirs of Betty Louise Parks. DE #1 (Complaint). The at-issue property is located at 589

  Florence Street, Corbin, Kentucky 40701. The Court, pursuant to Federal Rule 4(e)(1), CR

  4.05, and CR 4.07, previously issued a warning order and appointed warning order

  attorneys for all Defendants. DE #14 (Order).

         The Court appointed Hon. Whitney True Lawson as warning order counsel for the

  Unknown Spouse of Vicky May. Ms. Lawson now reports that, after a thorough records

  search, she determined that Vicky May has been unmarried since 2009. See DE #24 ¶¶ 4

  & 6; DE #24-1 (November 2009 Divorce Decree). Counsel asks the Court to accept the

  report, authorize payment for her services, and release her from further duties. See DE #24

  at 2. Finding the requested relief justified, the Court GRANTS DE #24 and ORDERS as

  follows:

                                              1
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        1. The Court ACCEPTS the Warning Order Report (DE #24);

        2. The Court ORDERS and AUTHORIZES payment, to Hon. Whitney True

           Lawson, of a $150.00 fee for services rendered and $35.00 for reasonably

           incurred expenses, all to be taxed as costs, see DE #24 (noting 1.0+ hours spent

           in service of this matter); DE #25-1 (stating costs); and

        3. The Court RELIEVES Ms. Lawson of any further duties in this matter.

        This the 16th day of April, 2019.




                                             2
